Case 1:17-cv-04327-LLS-RWL Document 137-14 Filed 05/01/20 Page 1 of 24

 

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- Exhibit 37
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6/5/2017 ndap Mail - ChannelReply
G EAE Mike Dash <mdash@ndap-llc.com>
ost age
ChannelReply
David Gitman <dgitman@ndap-llc.com> Mon, Jun 5, 2017 at 12:46 PM

To: Michael Dardashtian <mdash@ndap-lic.com>
Ce: Konstantyn Bagaiev <Konstantyn@channelreply.com>, Aleksey Glukharev <aleksey@channelreply.com>, Umar Farooq

<umar@farooqco.com>

We're happy to discuss ChannelReply with you after you agree to the following. There is no “deal” to be made here.

. You will issue Alice 15% of CPK today.

. You will produce an ex cuted Settlement, Release and Escrow Agreement from Parts Authority today.
. You will execute the Saag ieee) Asset Purchase Agreement today.
. Proceeds from the sale to Repel be placed into escrow.

. PA (Parts Authority) will be paid 100k out of escrow.

. Summit Rock Holdings (SRH) will be paid 80K out of escrow.

. My past Cpr oeiiencr will be paid.

. My future work for CPKASR will be paid.

. If Alice leaves aiave will split the cost of my work.

. A full accounting (A partial accounting is not acceptable)

. Federal, State, local and personal tax filings are correctly restated.

. Tax withholding on payments to foreign persons are satisfied

. Distributions can then be taken.

   

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SRUSHT [ohio y,, ays) (OLS) ua, sseyOd Sp fo aantd oseqaand yoror v joy anys tad 1 g000'0S novwen? B'
Jo oad asnqaund ain ( BATTS, ayy) yaorg uoumoy s Aundiuog ap jo soaeys (900'000'D) ommoug Th
LOL pHte aUO “AURdUIOD 1 Wid asHYyind OF SanITE Josutpout, pune aasMtyding 0) [Jos PUL Ca‘evou
ansst qua durdiuos ayy (Sy Osea, ap) ode ppoys saseqaing pu Auedtao ot} st ayep pis 9216
JOYIO Yors UO JO sated aq) Aq luauaaliy sip jo Araaijop ptt uonnoaxa oip yay Aysnoounqnuus Naum a
uaudady sign jo suonipuos pun sway agi or palqng “HUOTS jo apes | atonay

 

sedge

‘( ESI, snudeg udquinisuoy pu ‘(, ATTATTOT,, :
ay) Hon adios osuavnpag, 8 any Adages wasaijog pu Aq — ” foun ye
. ‘Gi +
Jost aputu st (, OTTSIBY,, sip) woulda y asuyaang yours woUlRtOd SHE, . esone

 

 

saqanes

 

 

ALND ASVILOUAd MOOS NOWINOD noewes ffl

“ONE ATT ORVTANNVHD © auras, tg

gor Sify
Ayunisu0y we

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if

 

   

WE mae
POF eYIO. 19 Seeiday |.

 

 

 

 
DIP SasiNID MOYHAN JO tas *(GMopog pauyap su) Aipiqesiq) Jo weap sugnMUsas ‘uarnayy
Moypar ‘Buypnypour) uoseas Aue soy (vopoq pouyap se) snivig satasog sronupUdes ssascyong
Jo voneurauar Cnungoaus so Ainunpas out Jo WaAd dtp UY (1)

 

 
 

 

 

 
   

 

 

 

 
  

Tuya Teopd sg) asniypanday (u)
“MOpq sudistsoad oi} pun ‘savep ayquarddn "suoist org aveldgy aT :
Ita pauuypdtuos uy pu Ag ponitusad ynarna ay) o1 doaxs somyg oyP UE snag Aun jo asodsip f :
Jo saquinaiia ‘uBisse jou yeys Jasnqaung wordy aseysmndayy tans aioay paseayas usa aNvey ; :
says Aum sayy “(Mopaq pouyop se) uondg oseqoinday s Audio.) atin 7 pofqns aau saseys . “
YL appa souNYS an UL saorit Alia yo asadsip Jo Jaquinoua ‘use lou pus daseqaung aysuedt : :
to suonny SucoHaagy ayy op vontppE tp ‘savey ayquayddn Aq payeaza saysueay uo wonaLsau Jo : 5
vonuntuy syle Aue (it) pus '(, SUOBSTAOTP AVOATT., yn saystieay pasodaid Aup yo own ayn it ayo : °
ub ag Ant su ‘save g 3 Aundiuosy ay) jo To's Hontaag UL ua] fos SUOataisad Japsumy unaa ! on |
(uonenuty moa Ruypayaul ‘swupAg s Aupduiod ou at puny is su 'yaorg Hotunto3 s Aurdaiod ‘ :
: ayy or Aydde wtp suonipuos pur siusay aun (1) 01 alqus ose juatuaolTy sup sapun poseqasnd ‘ ,
SaMYS up 1p soaTE puu satipapwouyay sosuyaany FAP], WO SHOT TT | ¢
‘Aunduto _ Morse
’ AYP OL INO opHLT yooyd puD sassy JIG PUR g] Jo MOUNTpSsy oIpL UF ag] 198 st S}assE HELD trusted so
jo mauutisse ue Aq oau yg asayaung aesaisdy arp daaqop plas aasuyoangy uauuaasy sq ut Mewaag so
YO] 8S SpteUaAOD puE sostuasd [ROTH Oy AG] Gornapisnoa sy “WOTRTap PTET C hue nea : :
a corals .
a) “SAALYS at JO Ulgssauaro $,daseyoINg] JO WOsHad sasaor .
Ag papa st doseyaing qonyas oy ALadoud soyio Jo sanyinaas peuONIppe JO Pays Gns *avau |[e ‘ap0ieg 1 3
puu ‘oxi oui sO aTeyoNa ‘uoneziedsoas Goons ‘uonuaypunideaal uur sais aut yo juotunaydas : ot;
UL paajaoad son tsnaas (ut 'sytds 4o spudapLaip ysors o} yUNsINd sozegs oy) tfitas WoHSaUuOS Mos ae
tH pOALO9dI SdH ANAS J]N PUN JapUNTsoy poserpoand sareyg ay jo pp OF szajas , SHTBGS,, uit : ic
OY) ‘Uno Quatpag|a pasn sy ‘ayep yous Sulmojpoy ajqeauquid sv uoos se saunyg ap or adsas youDW. ea .
tptas aauuIsss jo Daou T Nonbor uadn Vasu oF daarop yas Sundog oy “Aundiuo u mt
. yt jo wate woysuny pazuorine pnp a ‘opqnandde yr sao Auudiiod at yo spuoaal puv syoog pore & :
: AP UL Op (ONS fo su aT s Jasmpoang UF saseyg ai tania (play Audutog ayy pus Augdiuo) a .
AYR 0) doUY asEyINg aTAUATY arp Joayop [PAr dasitpounig ‘aye aseyaund ay UO. “(TTT waasen +

 
 

DUETS Maa, O}1) (OES) HL sanjpod Sp yo aad osmyound pero e soy auays sad (QOUD'OS

 

joua ep

 

 

 

 

 

 

 

 

 

go aand aseyound 0 ye ( SSRs. any) yoors vowtuo 8 Anadis oy Jo soaeys (gg0'd00'D) ‘{soees et
UO} due *Atardiuas oi tuogy osEYasd 0} SadIT JosutpaIn Puy Yds O1 (pos pul s soning to
angst yi Attu: aut, SHICPSsinpaM,, a4) aaaRe ypu dasmyasn pus Auadurog ayy se ep ; : ued
Jaipo yons uo ao sansed ayy Aq uotuaaddy sip fo Araayap pur sonnaaxa ay nin {ysnoauny nas heewoa Fil :
uatuoaaTy sity] JO SHON puna pur sautor aig or aafqng SPEC jo apeg | "gwen B
“( JOSESTTG,.) aoeing, udiumsuoy pus '( AGHAIIOS,, «per OBF
aipl) vonwodos amu 8 ouy Apdo yyouunyy aaaayag pun Aq ee hwuersuon a) py e
Jo sh apm st ( THMISSNTY,, stip) mamtaaty asmyosng YOoIg UOMRUOD Siy L ,
ET ei
f
HOOT acne ipsary 7 on
wee cet wenn beeen’ vo Be .
‘ nivennaeras OOD

 
